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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     CONSOLIDATED ACTION

                               Case No.: 18-62758-CIV-DIMITROULEAS
                                 (Former case no. 20-60483-CIV-WPD)

   WILLIAM OLSON,

                  Plaintiff,
   vs.

   UNITED STATES OF AMERICA,

               Defendant.
   ____________________________________/


                                     AMENDED COMPLAINT

          Plaintiff William Olson brings this action against Defendant United States of America and

   alleges:

                                    NATURE OF THE ACTION

          1.      This is an action for negligence as a result of a horrific mass shooting that was

   completely preventable.

          2.      “I know he’s going to explode,” a woman who knew Nikolas Cruz said on the FBI’s

   tip line on January 5, 2018. Through the proper channels for citizens to convey information to the

   FBI, she provided a detailed and specific tip that Cruz “was going to slip into a school and start

   shooting the place up.” He wanted to kill people, and he had the means to do so—he had spent the

   last several months collecting rifles and ammunition. Forty days later, Mr. Cruz did just what

   tipster warned the FBI he would do. He entered his former high school—Marjory Stoneman

   Douglas High School in Parkland, Florida—and executed 17 people.




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          3.      Plaintiff in this action is William Olson, who was a 14-year-old high school

   freshman on the afternoon of February 14, 2018, when Cruz shot him in his classroom at Marjory

   Stoneman Douglas High School.

          4.      On or before February 14, 2014, the FBI knew that Nikolas Cruz had the desire,

   means and capability to carry out a mass school shooting.

          5.      The FBI had non-discretionary obligations, governed by established protocols, to

   handle and investigate tips concerning potential school shootings in a reasonable manner—at a

   minimum not to ignore the information entirely—and to act against Cruz to prevent him from

   committing the mass shooting that permanently injured William Olson. Yet, contrary to its own

   established rules, the FBI failed to take any action whatsoever with the information it received. If

   the FBI had complied with its mandatory obligations to investigate and intervene in Cruz’s plans

   to carry out a mass shooting at Stoneman Douglas High School, Cruz would not have succeeded

   in carrying out his attack and William Olson would not have been shot and permanently injured.

          6.      As a direct, proximate, and foreseeable result of the FBI’s negligence, Cruz was

   able to kill 17 students and teachers and wound many more.

          7.      William Olson brings this lawsuit under the Federal Tort Claims Act, 28 U.S.C.

   §§1346. He seeks all federal tort damages for bodily injury resulting in pain and suffering,

   disability, disfigurement, mental anguish, loss of the capacity for the enjoyment of life, medical

   expenses in the past and in the future, loss of earnings, loss of the ability to earn money in the

   future and/or aggravation of a preexisting condition.

                                   JURISDICTION AND VENUE

          8.      The Court has jurisdiction over this action pursuant to 28 U.S.C. §1331.




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          9.      Venue is properly in the Southern District of Florida pursuant to 28 U.S.C.

   §1391(b) because Plaintiffs’ claims arose in Broward County, Florida, which is located in the

   Southern District of Florida.

          10.     Plaintiffs have complied with and exhausted all applicable pre-suit notice

   requirements of the Federal Tort Claims Act. More than six months before the filing of this

   complaint, the FBI received the Plaintiffs’ Notice of Claim. The FBI did not issue a formal denial

   of the Plaintiffs’ claim within six months, and thus the claim was deemed denied in August 2018.

                                           THE PARTIES

          11.     Plaintiff William Olson is a resident of Parkland, Broward County, Florida.

          12.     The United States of America is a defendant in this action pursuant to the Federal

   Tort Claims Act, 28 U.S.C. §§1346, arising from the acts and/or omissions of employees and

   agents of the Federal Bureau of Investigation, an agency of the defendant.

          13.     The Federal Bureau of Investigation is a federal law enforcement agency statutorily

   empowered by the United States Congress to enforce and investigate certain alleged violations of

   the United States Criminal Code. The FBI is part of the Department of Justice and formally subject

   to oversight and direction by the Attorney General.

                                               FACTS

   I.     The Red Flags

          14.     Before the Parkland shooting, law enforcement, including the FBI, received several

   warnings about Nikolas Cruz’s desire and capability to carry out a school shooting.




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          A.      Long before the shooting, local law enforcement was aware of Cruz’s
                  propensity for violence and stated intention to commit a school shooting.

          15.     In January 2013, Nikolas Cruz’s mother, Lynda Cruz, called the Broward County

   Sheriff’s Office after Nikolas threw her against a wall. She advised the Broward County sheriff

   that Nikolas had anger issues and ADHD.

          16.     In February 2016, the Broward County Sheriff received a report from an unnamed

   neighbor who said Cruz was posting photos of himself with guns on Instagram and saying he

   planned to shoot up his high school. At the time, Cruz was a student at Marjory Stoneman Douglas

   High School. The Sheriff’s office forwarded the information to the school resource officer.

          17.     In September 2016, a school resource officer at Stoneman Douglas reported to the

   Sheriff’s office that Cruz had ingested gasoline in an effort to commit suicide and was cutting

   himself. It was also reported that Cruz stated he wanted to buy a gun and that he possessed hate-

   related symbols. A sheriff’s deputy responded to Cruz’s home on allegations that Cruz was hurting

   himself and talking about buying a gun.

          18.     In September 2016, the Florida Department of Children and Families opened a case

   on Cruz, calling him “a vulnerable adult due to mental illness.” The report noted that Cruz said he

   planned to buy a gun, but “it is unknown what he is buying the gun for.”

          19.     In January 2017, Cruz was reported for an assault at Stoneman Douglas and referred

   for a threat assessment, according to the school’s discipline records.

          20.     In February 2017, Cruz bought the AR-15 he used in the shooting from Sunrise

   Tactical Supply in Coral Springs, Florida. Upon information and belief, Cruz purchased at least

   five weapons in the year before the shooting, all rifles and shotguns.

          21.     In November 2017, a cousin of Lynda Cruz called the Broward County Sheriff’s

   Office to report that Cruz possessed “rifles” and requested that BSO recover the weapons.



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          22.       The same month, Rock Deschamps called law enforcement to report that Cruz had

   buried a 9mm gun in the backyard. Deschamps said, “I’m positive he hid a weapon.”

          23.       A few weeks later, a family friend, Rocxanne Deschamps, called authorities to

   report a fight between Cruz and her son. She said Cruz became violent, punching walls, and left

   to get a gun. On the call, Deschamps told the police dispatcher that Cruz had bought “tons of

   ammo,” he had used a gun against people before, and he had put a gun to others heads in the past.

          24.       On November 30, 2017, the Broward County Sheriff’s Office received a tip from a

   caller in Massachusetts who said that Cruz was collecting guns and knives. The caller said she was

   concerned that Cruz would kill himself one day, and she believed Cruz could be a school shooter

   in the making.

          B.        For more than two years before the shooting, Cruz had been posting
                    disturbing and threatening content on social media.

          25.       By at least December 2015, Cruz was using social media to post pictures of himself

   holding weapons, including guns and knives:




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          26.    Cruz also used social media to post advertisements for weapons he wanted to buy.

   In one instance, Cruz posted an advertisement for the Maverick 88 Slug on Instagram. In the post,

   Cruz asked his Instagram followers for advice about gun costs and passing background checks:




          27.    Throughout the rest of 2017, Cruz continued to post photos displaying his growing

   collection of weapons and ammunition, including the AR-15 that Cruz eventually used in the

   shooting.


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          28.       Cruz also posted a photo on his Instagram account of a disemboweled frog

   surrounded by blood, saying he had killed it:




          29.       In the months preceding the Parkland shooting, Cruz made several threatening

   comments under videos on YouTube and other sites. They include:

                   “I whana shoot people with my AR-15”

                   “I wanna die Fighting killing s**t ton of people”


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                   “I am going to kill law enforcement one day they go after the good people.”

          C.        Five months before the shooting, the FBI learned that Cruz had professed his
                    intention to become a school shooter.

          30.       On September 24, 2017, a Mississippi bail bondsman named Ben Bennight

   received a comment on his YouTube channel from Nikolas Cruz. In the post, Cruz said he was

   “going to be a professional school shooter”:




          31.       Nikolas Cruz made no attempt to conceal his identity. He used his first and last

   name, rather than a unique username, in the post.

          32.       Bennight immediately reported Cruz’s threatening comment to the FBI. The next

   day, two FBI agents interviewed Bennight about the comment.

          33.       The FBI closed its file on this matter in October 2017.

          D.        One month before the shooting, the FBI received another tip warning that
                    Cruz would commit a school shooting.

          34.       On January 5, 2018, a person close to Cruz contacted the FBI’s Public Access Line

   (PAL) tipline to report her concerns about Cruz’s behavior.

          35.       The caller warned that Cruz was 18 years old but had “the mental capacity of a 12

   to a 14-year-old.” She explained that Cruz’s mother had just recently died, and Cruz had been

   exhibited violent and suicidal behavior since his mother’s death.

          36.       The caller explained that, since his mother’s death, Cruz “started off saying he

   wanted to kill himself.” In response, the caller called the Parkland Police Department and spoke



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    to an officer there about Cruz’s behavior. Then, the caller explained, “just recently,” Cruz

    “switched it to he wants to kill people.” In other words, Cruz had professed a desire to kill other

    people. The caller explained that Cruz had said he wanted to kill people publicly, in a post on his

    Instagram, but about two days later, he took the post down:1




               37.      The caller also said that Cruz was “so into ISIS” and that she was “afraid . . .

    something’s gonna happen.”




               38.      The caller told the FBI that she was even more concerned about Cruz’s propensity

    for violence because he had been acquiring guns, including rifles, since his mother’s death. Before

    his mother died, Cruz had “pulled a rifle on his mother.” Then, after his mother’s death, Cruz took

    money out of his mother’s account and “brought all these rifles and ammunition and he posted

    pictures of them on the Instagram.”




    1
        The quoted language is from the transcript of the tipster’s call to the FBI on January 5, 2018.


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           39.     The caller explained that she and another cousin of Cruz’s had grown very

    concerned about Cruz, and she wanted the FBI to know so that they could look into it. She

    expressly stated that Cruz might “take[] off and . . . start shooting places up.”




           40.     The caller also warned the FBI about Cruz’s social media accounts, which

    contained Cruz’s credible statements and other evidence of his desire or planning to kill people,

    and photos of Cruz’s weapons including “all kinds of rifles.” The caller urged the FBI to go onto

    Cruz’s Instagram page, where Cruz had posted about his desire to kill people.




           41.     The caller gave the FBI specific details about Cruz’s Instagram accounts, spelling

    out, letter-by-letter, the handles Cruz used on Instagram so that the FBI could verify the

    information for itself.




           42.     The caller described in detail various posts on Cruz’s Instagram account that

    displayed his weapons, including guns, knives, and ammunition. The caller said the Instagram

    page contained a photo of “a whole bag with all kinds of rifles” and “scopes.” She explained that

    Cruz was expecting to receive thousands of dollars from his mother’s estate, and he would use that

    money to buy more guns.




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           43.     The caller also explained that Cruz’s Instagram accounts contained photos of

    animals Cruz had mutilated and killed, and she provided the FBI with additional details about

    Cruz’s mutilation of animals. She told the FBI that Cruz’s interest in killing animals, cutting them

    up, and posting photos of them was “a red flag.”




           44.     In addition, the caller said that Cruz had expressed an affinity for ISIS, even

    dressing up as a member of ISIS and posting messages in Arabic that appeared to threaten that he

    would do something.




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            45.     Over and over again, the caller stressed the danger of Cruz’s access to guns

    combined with his erratic behavior and propensity to act violently. The caller said with certainty

    that she knew Cruz was “going to explode.”




            46.     The caller was specific about the way she expected Cruz to explode—he was going

    to shoot up a school.

            47.     The caller said she felt compelled to call because “it’s alarming to see these pictures

    and to know what [Cruz is] capable of doing and-and what could happen.” She explained that he

    had exhibited violent and erratic behavior in the past, including picking up a chair and throwing it

    at someone—a student or a teacher at Marjory Stoneman Douglas High School—because he didn’t

    like the way they were talking to him. The caller explained that Cruz had been kicked out of school

    for his violent behavior, and she specifically said Cruz was going to get into a school and shoot

    the place up.




            48.     The caller gave the FBI representative the name and phone number of the

    individuals who Cruz was living with, and she provided the address of the home where Cruz was

    living at the time.

            49.     She ended the call by telling the FBI that she needed to report the information to

    the FBI so that it could investigate because, she said, “I do believe something’s going to happen.”




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           50.     The FBI did not take appropriate investigative steps in response to the call. The

    Bureau did not forward the information to the local FBI Field Office in Miami, Florida where

    additional investigative steps would have been taken; the FBI did not pass the information along

    to local law enforcement in Parkland, Florida; and the FBI did not pass the information along to

    Cruz’s likely target—Marjory Stoneman Douglas High School—so that the school could take

    appropriate measures to prevent the massacre. These failures violated the FBI’s own established

    protocols and mandatory operating procedures.

           E.      The FBI took on the responsibility of investigating and preventing mass
                   shootings.

           51.     The FBI instructs the public to report information about potential mass shootings.

           52.     For example, on the “Contact Us” page of the FBI’s website, the FBI instructs

    concerned citizens to “submit a tip” to report suspected terrorism or criminal activity. The website

    tells the public “If you see something, say something.”

           53.     The FBI’s website explains that it is the go-to entity for concerned citizens to report

    a potential mass shooting. The website states that “[t]he FBI concentrates on crime problems that

    pose major threats in American society. Significant violent crime incidents such as mass killings,

    sniper murders, and serial killings can paralyze entire communities and stretch state and local law

    enforcement resources to their limits.”

           54.     In addition, the FBI takes on the responsibility of investigating and preventing acts

    of terrorism—i.e., terrorist acts perpetrated by individuals inspired by or associated with foreign

    terrorist organizations and nations or U.S.-based movements that espouse extremist ideologies of



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    a political, religious, social, racial, or environmental nature. According to the FBI’s website,

    “[p]rotecting the United States from terrorist attacks is the FBI’s number one priority.” The FBI

    focuses, in part, on homegrown violent extremists—those sympathizers who have been inspired

    by global jihad, who are based in the U.S., have been radicalized primarily in the U.S., and are not

    directly collaborating with a foreign terrorist organization. Before the Parkland shooting, the FBI

    received information that Cruz sympathized with ISIS—the foreign terrorist organization. The FBI

    also knew Cruz had been posting messages in Arabic and had been dressing as a member of ISIS

    in public social media posts.

           55.     In this case, the FBI’s tip intake specialist assured the tipster that the FBI, and not

    some other governmental body, was the proper forum for reporting school shooting threats. On the

    call, the tipster expressed some ambivalence about whether she was calling the correct

    governmental agency, saying, for example, that she “didn’t know whether to call you or Homeland

    Security or who,” and the FBI intake specialist responded by assuring the caller that the FBI

    appreciated that the tipster had chosen to call. The FBI intake specialist did not direct the caller to

    report her observations and concerns to anyone else. Either implicitly or explicitly, the FBI assured

    the tipster that she had reported her information to the right place.

           56.     The tipster relied on the FBI to investigate the matter and decide the best course of

    action. The tipster expected the FBI would look into the issue further, explaining “I just want

    someone to know about this so they can look into it” and “when you look into this, you can make

    the decision as to whether you want to go further or not.” On several occasions, the tipster also

    explained that by coming to the FBI, she was giving over the responsibility of handling the

    information to the FBI. She said, “If they think it’s something worth going into, fine. If not, um, I

    just know I have a clear conscience if he takes off and, and just starts shooting places up.” She also




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    said she was getting the information “off [her] chest in case something does happen and I do

    believe something’s going to happen”

           57.     Either expressly or implicitly, the FBI’s responses to the tipster had the effect of

    assuring the her that the FBI would take action—at the very least, look into the threat and

    potentially follow-up with her. The FBI intake specialist asked the caller “So if anybody else has

    questions they can call you back. Is that correct, ma’am?” The caller replied “Yes, you can, hun.”

    The FBI intake specialist also sought specific details on Cruz’s whereabouts, including his current

    address and phone number.

           F.      By at least January 2018, the FBI knew or should have known Nikolas Cruz
                   would carry out a mass shooting at Marjory Stoneman Douglas High School.

           58.     The FBI had received a substantial amount of information with which to

    characterize Nikolas Cruz as a potential threat to life before the shooting at Marjory Stoneman

    Douglas High School.

           59.     According to the FBI’s own written guidance, Cruz was clearly a potential threat

    to life, and the FBI’s mandatory operating procedures required the FBI to investigate and

    intervene.

           60.     The FBI’s own published manuals shed light on Cruz’s potential risk. For example,

    in 2015, the FBI’s Behavioral Analysis Unit studied ways to reduce mass shootings and other

    forms of targeted violence. It published the results of the study in a guidebook called “Making

    Prevention a Reality: Identifying, Assessing, and Managing the Threat of Targeted Attacks.”

           61.     The FBI’s guidebook for preventing targeted attacks explains that “bystanders are

    a key component for prevention of targeted violence events.” It defines a bystander as “anyone

    positioned to have awareness of risk factors or to observe warning behaviors related to a person

    who may be considering acting violently,” including “a friend on social media, a classmate, a co-



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    worker, a neighbor, a family member, or a casual observer.” A bystander “can potentially intervene

    by various means, but most importantly by simply conveying what he knows, observes, or fears

    may happen.” The FBI counsels that bystanders are “an absolutely critical component of

    prevention.” In key research studies reviewed by the FBI, researchers found that “in 81% of school

    shooting cases they reviewed, the offender told at least one person about the attack beforehand”

    and in “59% of cases at least two other individuals had some information about the event before it

    was carried out.” When bystanders report what they know to authorities, they “create opportunities

    for intervention and ultimately prevention.”

           62.     The FBI’s guidebook explains that persons of concern are often identified when

    they make a threat—i.e., an expression of intention to inflict injury or damage. It explains that

    threats “must all be taken seriously and thoroughly evaluated.”

           63.     The FBI’s guidebook also lists several “warning behaviors” that evidence an

    increasing and accelerating risk that someone will carry out a targeted attack. The FBI notes that

    “[w]hen warning behaviors are evidenced, they require a threat management strategy and

    operational response. They are, for the most part, proximal behaviors, occurring more closely in

    time to a potential act of targeted violence.”

           64.     The FBI defines a “pathway to violence warning behavior” as any behavior that is

    part of research, planning, preparation, or implementation of an attack. Examples of pathway

    warning behaviors include “obtaining weapons and gear as well as familiarization with the

    weapons.”

           65.     A tipster warned the FBI in January 2018 that Nikolas Cruz had demonstrated

    “pathway to violence” warning behaviors, including a preoccupation with acquiring weapons and

    ammunition to carry out a violent attack.




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           66.     The FBI defines a “fixation warning behavior” as “an increasing preoccupation

    with a person or a cause.”

           67.     A tipster warned the FBI in January 2018 that Nikolas Cruz had demonstrated

    fixation warning behaviors, including by telling the FBI that Cruz is “so into ISIS” and had posted

    messages in Arabic on social media that appeared to be related to the terrorist organization.

           68.     The FBI defines an “identification warning behavior” as one that becomes evident

    when a person adopts a “pseudo-commando” identity. “A preoccupation with firearms and a desire

    to use them for revenge may be evident. . . . The practical aspect of identification warning behavior

    may feature an unusual fascination with weapons or other military or law enforcement

    paraphernalia. This can be demonstrated through actual weapons, ammunition or paraphernalia

    purchases, or through virtual activities such as intense preoccupation with and practice on first-

    person shooter games, or in-depth on-line research of weapons. A psychological aspect of

    identification may involve physical costuming, immersion in aggressive or violent materials, or

    fantasizing about offending violently.”

           69.     A tipster warned the FBI in January 2018 that Nikolas Cruz had demonstrated

    identification warning behaviors. On the call, the tipster noted that Cruz had an unusual fascination

    with guns and weapons, posting many photos on Instagram of guns he had purchased. He had also

    posted “pictures of himself dressed up” as a member of ISIS and in military garb.

           70.     The FBI defines “novel aggression warning behavior” as an act of violence in which

    the person is “testing” his ability to actually engage in a violent act, or experimental aggression.

    “Examples of acts of novel aggression could include animal cruelty, assault, firearm discharge,

    arson or bombing, rehearsed violence with inanimate objects fantasized to be human targets, or

    even vandalism.”




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           71.     A tipster warned the FBI in January 2018 that Nikolas Cruz had demonstrated novel

    aggression warning behaviors including committing concerning acts of animal cruelty, assaulting

    his mother and school peers, and pulling a rifle on his mother in order to get money to buy more

    weapons.

           72.     The FBI defines “leakage” as “a communication to a third party of intent to do

    harm to a target through an attack.” The FBI advises that “[w]hen leakage in any form is

    discovered, it should be recognized as such and not dismissed as fantasy writing or mere venting .

    . . A full consideration of all facts and circumstances will help threat managers discern the

    difference.”

           73.     In the months preceding the school shooting, two tipsters warned the FBI that

    Nikolas Cruz had “leaked” his intent to kill other people and to become a “professional school

    shooter.”

           74.     The FBI guidebook also describes the numerous methods of intervention well short

    of arrest to deal with a person of concern once a threat of a targeted attack is identified. These

    management options include third-party monitoring, third-party intervention, direct interview,

    administrative actions, civil actions, criminal enforcement, setting specific boundaries and limits,

    100% enforcement, mental health commitments, alternatives to violence counseling, outpatient

    mental health care, stress and anger management classes, and other types of services.

           75.     In addition, “[w]hen a concern for violence rises above low,” the FBI guidebook

    instructs threat management teams to do increased vigilance and target hardening. In other words,

    the FBI suggests increasing security measures at the threat’s likely target. “Examples of increased

    vigilance may include increased awareness by personnel in and around the environment in

    question, training on and adherence to security procedures, identification verifications,




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    information sharing, and law enforcement alerts. . . . Target hardening can involve a thorough

    security process review, reduction of access points to the facility, more visible security, parking

    lot security and escorts, flagging the address in the ‘911’ system, and other measures deemed

    appropriate.”

            76.     The FBI defines a “low” level of concern scenario as one where, for example, the

    person of concern “may have evidenced few to no warning behaviors, he may “not have a

    significant number of risk factors,” or “circumstances may make it nearly impossible for the

    subject to carry out his threat (e.g., the person of concern is incarcerated, does not have a proxy

    willing to act violently on his behalf, and the target it outside the institution).”

            77.     The FBI defines a “moderate” level of concern scenario as one where, for example,

    “others may be concerned about the person potentially acting out violently,” the person “may have

    an increased number of risk factors (e.g., acting out violently, a paranoid personality disorder,

    substance abuse, or instability in employment and relationships),” and stressors may be present in

    the person’s life that could move the person further toward violence. In this scenario, the FBI

    advises that “monitoring and additional actions are necessary or desirable to further evaluate and

    respond to the situation to a point of resolution.”

            78.     The FBI defines an “elevated” level of concern scenario as one where, for example,

    a person of concern is making preparations such as “weapons acquisition and training that are both

    contextually inappropriate and an escalation from his norm,” or “increasing warning behaviors

    may become more evident,” or “stressors in a person’s life appear to be escalating and his abilities

    to cope with them appear diminished,” or “suicidal/homicidal ideation” is present. In this scenario,

    the FBI explains that “the person of concern is reaching a critical point on a pathway to violence.”

    To deal with the threat, “a threat management team and additional resources should focus on




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    reducing his susceptibility to violence and the target’s vulnerability, through guidance and

    enhanced security efforts.”

           79.     The FBI defines a “high” level of concern scenario as one where, for example, a

    person of concern “has exhibited highly concerning warning behaviors,” the person “has the means

    and ability to carry out a violent attack,” or the person exhibits a combination of serious mental

    illness, substance abuse or dependence, a history of violence or other risk factors. According to

    the FBI, “violence is possible and could occur within the near future following any precipitating

    events. Immediate and continuing attention is required from threat management resources to

    ensure violence does not occur.”

           80.     The information communicated to the FBI on the January 5 call alerted the FBI that

    Cruz was exhibiting an elevated or high level of risk. The FBI was told about Cruz’s young age

    and low mental skills, his mother’s recent death, his communicating suicidal and homicidal

    ideation, his sympathizing with ISIS, his violent history, and his preoccupation with acquiring

    rifles, among other things. These, along with Cruz’s other warning behaviors and risk factors,

    should have alerted the FBI that Cruz was capable of committing violence in the near future.

           81.     In June 2018, the FBI published “A Study of the Pre-Attack Behaviors of Active

    Shooters in the United States between 2000 and 2013.” The study explains that “[i]n the weeks

    and months before an attack, many active shooters engage in behaviors that may signal impending

    violence. While some of these behaviors are intentionally concealed, others are observable and—

    if recognized and reported—may lead to a disruption prior to an attack.”

           82.     The FBI explained that active shooters tend to be “individuals who fail to

    successfully navigate multiple stressors in their lives while concurrently displaying four to five

    observable, concerning behaviors, engaging in planning and preparation, and frequently




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    communicating threats or leaking indications of an intent to attack. As an active shooter progresses

    on a trajectory toward violence, these observable behaviors may represent critical opportunities

    for detection and disruption.”

           83.     Prior to the attack, the FBI was aware that Nikolas Cruz had displayed many of the

    observable concerning behaviors that precipitate a mass shooting. The FBI study explains that

    shooters typically undergo multiple stressors in the year before an attack, which could include the

    death of a relative, mental health problems, school-related problems, and conflicts with parents.

    The FBI also provides a list of concerning behaviors that are typically observed in active shooters

    before an attack. The list includes observed instances of inappropriate anger, inappropriate

    firearms behavior, more than the usual amount of discord in ongoing relationships with family,

    communication to a third-party of the intent to harm another person, indications of mental health

    issues, physical aggression, and violent media usage.

           84.     The tipster warned the FBI that Cruz had experienced multiple triggering stressors

    and displayed observable concerning behavior in the months before the shooting. The tipster told

    the FBI that Cruz’s mother had died, he had expressed a desire to kill himself and others, he had

    been kicked out of school for engaging in violently aggressive behavior directed toward his peers,

    and he had pulled a rifle on his own mother before her death. Cruz delighted in torturing and

    mutilating animals, and he posted gruesome pictures on social media. He had communicated his

    violent inclinations publicly using social media.

           85.     The FBI was also aware, or reasonable should have foreseen, that Marjory

    Stoneman Douglas High School was Nikolas Cruz’s likely target. Cruz was 19 years old at the

    time of the shooting, and he had previously attended Marjory Stoneman Douglas High School. On

    the January 5 call, the tipster warned the FBI that Cruz would shoot up a school. Months earlier,




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    in October 2017, Cruz had expressed his desire to become a school shooter in a YouTube comment

    reported to the FBI.

           86.     The FBI was also aware, or with reasonable diligence should have discovered, that

    Cruz had a history of acting violently at Marjory Stoneman Douglas High School. The tipster told

    the FBI that Cruz had thrown a chair at a student or teacher at his high school, and he had been

    kicked out of that school. Cruz’s history of violence at the school was well-documented and would

    have been easily discovered during a reasonable investigation into Cruz.

           87.     In addition, the FBI knows that active shooters in Cruz’s age group are very likely

    to choose their former school as a target. In the FBI’s study on pre-attack behaviors, the FBI

    explained that “active shooters often attacked people and places with which they were already

    familiar. There was a known connection between the active shooters and the attack site in the

    majority of cases (73%, n = 46), often a workplace or former workplace for those 18 and older

    (35%, n = 19), and almost always a school or former school for those younger than 18 (88%, n =

    7).”

    II.    The Shooting

           88.     On the afternoon of February 14, 2018, Marjory Stoneman Douglas students were

    anticipating the dismissal bell when, instead, they heard the sound of gunfire.

           89.     At 2:21 p.m. Nikolas Cruz entered Building 12 of the school after an Uber dropped

    him off at the school’s entrance.

           90.     Cruz walked into the halls of the first floor of the school and activated the fire alarm

    in order to draw unsuspecting students and faculty members from their classrooms.

           91.      He removed his .223-caliber AR-15-style rifle from a soft black case he was

    carrying, and began to shoot into four different classrooms, going back and forth between them




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    and killing eleven people and injuring thirteen, including William Olson in classroom 1216, before

    moving on.

           92.     He proceeded, through the school’s west stairwell, up to the second floor, where he

    roamed across the halls, stopping to shoot into one classroom without injuring anyone inside.

           93.     He then took the east stairwell up to the third floor of the school, where he continued

    shooting, ultimately murdering six other people and injuring several others.

           94.     After shooting several rounds through the window of the third-floor teachers’

    lounge onto fleeing students below, Cruz dropped his weapon and removed his ammunition vest

    so he could blend into the crowd of students running away.

           95.     Cruz walked out of the Stoneman Douglas campus with the crowd of students,

    proceeded to a Walmart store to buy a drink, and then on to a nearby McDonald’s. He then

    continued to roam freely until he was detained more than one hour after the shooting began in a

    Coral Springs neighborhood while walking down the street.

    III.   The FBI’s Admissions

           A.      The FBI’s Call to Fred Guttenberg.

           96.     Frederic and Jennifer Guttenberg are co-personal representatives of the Estate of

    Jaime T. Guttenberg, their 14-year old daughter who was killed at Marjory Stoneman Douglas

    High School.

           97.     On February 16, just two days after the shooting, the Guttenbergs were sitting with

    their rabbi and a funeral director planning Jaime’s funeral. They were in the process of picking a

    casket for their daughter when Fred looked at his phone and saw that he had received a text

    message and a missed call from a representative for the FBI. The text message advised Fred that

    the FBI had important information to share with him. Fred asked the FBI agent to call him.




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           98.     During the call, the FBI agent told Fred that the FBI was at fault for failing to

    prevent the tragedy that took his daughter’s life. The FBI agent said that the FBI’s tragic mistakes

    were about to become public, and he wanted to make sure Fred heard it from the FBI first.

           99.     The FBI representative told Fred that, before the shooting, the FBI had received

    information about the killer that should have been acted upon and was not. The FBI agent also

    admitted that, had the Bureau acted upon the information it had received, the FBI would have been

    able to prevent Cruz from carrying out the shooting.

           100.    Fred asked the FBI representative, “Are you telling me that if the FBI did not make

    a mistake and did their job a month sooner, my daughter would still be alive today?” To that, the

    FBI agent replied, “I’m afraid so, sir.”

           B.      The FBI Statement on the Parkland Shooting.

           101.    On February 16, 2018, the FBI issued a statement admitting it had violated

    established protocols in responding to information it received about Cruz prior to the shooting.

           102.    In the statement, the FBI stated that “[o]n January 5, 2018, a person close to Nikolas

    Cruz contacted the FBI’s Public Access Line (PAL) tip-line to report concerns about him. The

    caller provided information about Cruz’s gun ownership, desire to kill people, erratic behavior,

    and disturbing social media posts, as well as the potential of him conducting a school shooting.”

           103.    The FBI admitted that “under established protocols, the information provided by

    the caller should have been assessed as a potential threat to life. The information then should have

    been forwarded to the FBI Miami Field Office, where appropriate investigative steps would have

    been taken.”

           104.    The statement makes clear that the FBI was under a non-discretionary duty to assess

    the information about Nikolas Cruz as a “potential threat to life.” This assessment would trigger a

    non-discretionary duty to forward information to the FBI Miami Field Office. And, at that point,


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    the FBI Miami Field Office would have had a non-discretionary duty to take appropriate

    investigative steps.

              105.   FBI officials did not have discretion to do nothing. Established protocols

    required the FBI to act in specific ways in response to the information it received about Nikolas

    Cruz: assess the information as a potential threat to life and forward it to the FBI Miami Field

    Office.

              106.   Further, FBI Miami Field Office personnel did not have discretion to do nothing.

    The FBI’s statement explains that if the information had been forwarded to the FBI Miami Field

    Office, “appropriate investigative steps would have been taken.” The statement leaves no room

    for discretion on the part of the FBI Miami Field Office in deciding whether to take appropriate

    investigative steps. An investigation was required under established protocols.

              107.   Doing nothing in response to a tip regarding a potential threat to life is not an act

    embraced within the discretion granted to agents of the FBI.

              108.   The FBI admitted in its statement that established protocols “were not followed for

    the information received by the PAL on January 5. The information was not provided to the Miami

    Field Office, and no further investigation was conducted at that time.”

              109.   In other words, the FBI admitted that it violated established protocols, which

    governed its conduct in responding to the information it received about Cruz.

              110.   Despite the FBI’s awareness of Cruz’s gun ownership, desire to kill people, erratic

    behavior, disturbing social media posts in which he made statements about becoming a school

    shooter and more, and the likelihood of him committing a school shooting, the bureau failed to

    follow established protocols that would have prevented the shooting from taking place.




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           111.    The FBI’s failure to abide by established policies, procedures, protocols, and/or

    guidelines directly and proximately caused the horrific tragedy that injured William Olson and so

    many others, and cost the lives of at least 17 others.

           C.      The FBI’s Press Conference on the Parkland Shooting.

           112.    On February 22, 2018, Acting Deputy Director of the FBI, David Bowdich, held a

    press conference in which he acknowledged that “there was a mistake made.”

           113.    He further admitted that strong processes and protocols existed to deal with and

    respond to tips, “it’s just they were not followed.”

           D.      The FBI’s Congressional Testimony on the Parkland Shooting.

           114.    The FBI also admitted its negligent failures in sworn public testimony.

           115.    Acting Deputy Director Bowdich testified about the Parkland shooting in hearings

    before the Senate and House Judiciary Committees on March 14 and 20, 2018.

           116.    During his testimony, Bowdich, admitted that the FBI had received two separate

    tips alerting them to the dangers Nikolas Cruz posed and failed to respond to the tips properly.

           117.    Bowdich admitted that the FBI “clearly should have done more” in response to

    these alerts. He then summarized the current results of their investigation into what the FBI failed

    to do to prevent this massacre. The findings were the following:

               On September 25, 2017, the FBI received an e-mail alerting them that somebody under

                the username “Nikolas Cruz” had posted a comment on YouTube that said “I’m going

                to be a professional school shooter.”

               In response to this tip, the FBI opened a “Guardian” lead and assigned it to their Jackson

                Field Office in Mississippi. Representatives from that office visited and interviewed

                the tipster. They then determined that the identity of the commenter could not be




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                 determined and closed the investigation without any further follow-up or alert to local

                 law enforcement agencies.

                On January 5, 2018, the FBI received a call-in tip from a woman who identified herself

                 as a close friend of the Cruz family.

                This caller alerted the FBI to Cruz’s statements about harming himself and others; his

                 references to ISIS; previous threats he made against his mother with a rifle; that he had

                 purchased several weapons and said he wanted to kill people; that he was mutilating

                 small animals; and that he, at 18, had the mental capacity of a 12- to 14-year old.

                The caller told the FBI about the danger that Cruz would “shoot up a school.”

                The FBI operator matched the information from this tip to the previous Guardian lead

                 regarding the YouTube post. She “consulted with her supervisor and the matter was

                 closed” without any further action. Information of this tip was never forwarded along

                 for any further review and local law enforcement was, again, not informed of the tip.

           118.     Once they were notified of the shooting at Marjory Stoneman Douglas, the FBI

    connected the shooter to the previously obtained tips.

           119.     Bowdich concluded his testimony by stating that the FBI is “committed…to doing

    whatever is necessary to correct our mistakes and prevent tragedies like this one from being

    repeated.”

                                           CAUSES OF ACTION

                                        COUNT I: NEGLIGENCE

           120.     Plaintiffs incorporate by reference the allegations contained in all preceding

    paragraphs.




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           121.    Duty: The FBI owed a legal duty to the students and teachers of Marjory Stoneman

    Douglas High School in Parkland, Florida.

           122.    First, the FBI owed the students and teachers of Marjory Stoneman Douglas High

    School in Parkland, Florida, a duty to comply with mandatory investigative procedures governing

    how information on school shootings were to be handled. FBI personnel were subject to

    mandatory, non-discretionary investigative procedures that dictated how tips concerning potential

    school shootings had to be handled. The FBI had adopted those procedures as the standard of

    conduct for handling information concerning potential school shootings. The FBI knew or

    reasonably should have foreseen that the failure to properly follow those mandatory investigative

    procedures upon receiving credible information concerning Nikolas Cruz—including, among

    other things, his stated desire to commit a mass shooting at a school, his possession of high-

    powered weapons with which to carry out a school shooting, his disciplinary history as a student

    at Marjory Stoneman Douglas High School, and his propensity for violence—created a broad zone

    of risk that posed a general threat of harm to the students and staff at Marjory Stoneman Douglas

    High School, the foreseeable target of Nikolas Cruz.

           123.    Second, the FBI undertook, through its public outreach efforts, to serve as the

    receiver, repository, and conduit of information regarding school shootings. In response to the

    FBI’s undertaking, the public relied on the FBI as the exclusive receiver, repository, and conduit

    of information concerning potential school shooting, even to the exclusion of other governmental

    entities that could have handled the information. As a result of that undertaking and foreseeable

    reliance, the FBI knew or reasonably should have foreseen that the failure to exercise reasonable

    care in handling and relaying credible information it received concerning a potential school

    shooting created a broad zone of risk that such information would never be disseminated to an




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    appropriate governmental body and that such information would never be investigated and acted

    upon.

            124.   In this case, the FBI undertook the task of handling and relaying the information it

    received from the January 5th tipster in a reasonable manner. In light of the way the FBI held itself

    out to the public, its undertaking, and the context and content of the January 5th tipster’s call to the

    FBI in this case, the FBI knew or reasonably should have foreseen that:

                   a. The tipster was justifiably relying on the FBI as the exclusive forum for

                       reporting school shootings because, in response to the tipster’s expressed

                       ambivalence about whether the FBI was the proper forum for reporting

                       information about Nikolas Cruz, the FBI reassured the tipster, both implicitly

                       and expressly, that the FBI was the proper forum for reporting such information,

                       that the FBI would investigate the matter, and that the FBI would follow-up

                       with the tipster; and

                   b. Given the tipster’s reliance on the FBI and its assurances, failure to exercise

                       reasonable care in the handling and relaying of the information concerning a

                       potential school shooting by Nikolas Cruz created a broad zone of risk that such

                       information would never be disseminated to an appropriate governmental body

                       and that the tip would never be investigated and acted upon; and

                   c. Such failure posed a general threat of harm to the students and staff at Marjory

                       Stoneman Douglas High School—the foreseeable target of Nikolas Cruz and

                       the intended beneficiaries of the tip, to whom the FBI ultimately owed a duty

                       to perform its undertaking in a reasonable manner.




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           125.    Third, the FBI owed the students and teachers of Marjory Stoneman Douglas High

    School in Parkland, Florida, a special duty to intervene because:

                   a. The FBI instructed tipsters to communicate information regarding potential

                      school shootings, thereby willingly injecting itself into matters involving

                      potential school shootings;

                   b. The FBI directly involved itself in handling the tip concerning Nikolas Cruz by

                      fielding the January 5 tipster’s call and assuring the ambivalent tipster, both

                      implicitly and expressly, that the FBI would investigate the matter and that

                      calling the FBI was the appropriate course of action, to the exclusion of

                      notifying other law enforcement authorities;

                   c. The FBI knew or reasonably could have foreseen that an identifiable group of

                      individuals—here, students and teachers of Marjory Stoneman Douglas High

                      School in Parkland, Florida—were the expected targets of Nikolas Cruz’s

                      violence or anticipated shootings; and,

                   d. Despite knowing or reasonably foreseeing the risk to the students and teachers

                      of Marjory Stoneman Douglas High School in Parkland, Florida, the FBI

                      permitted the danger to exist by failing to act entirely, in admitted violation of

                      mandatory, established protocols.

           126.    Breach: The FBI failed to exercise reasonable care (a) in complying with

    mandatory investigative procedures that the bureau had adopted as the standard of conduct for

    handling information concerning potential school shootings; (b) in complying with non-

    discretionary duties not to falsely assure people possessing credible information and evidence

    about anticipated school shootings that their tips and information would be taken seriously and




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    investigated, and not to dissuade people with such information from contacting other law

    enforcement agencies (c) in performing the task it undertook—serving as the receiver, repository,

    and conduit of information regarding school shootings—and upon which the public—and,

    specifically, the January 5th tipster—relied to their detriment; and (d) in the way it handled the

    information received concerning Nikolas Cruz and Marjory Stoneman Douglas High School, an

    entity that was foreseeably at risk of being attacked by Nikolas Cruz. Specifically, the FBI failed

    to exercise reasonable care in the following ways, among others:

                   a. Doing nothing whatsoever with the information that it received concerning

                       Nikolas Cruz;

                   b. Failing to investigate and follow-up on the credible information it received from

                       the public, including the January 5th tipster;

                   c. Failing to follow non-discretionary, established protocols that required the FBI

                       to forward the information it had received concerning Nikolas Cruz to its Miami

                       Field Office, which would have had a non-discretionary obligation to take

                       investigative steps;

                   d. Failing to intervene, including in any of a number of ways that the FBI has

                       previously identified as effective intervention methods for potential school

                       shootings; and

                   e. At the very least, failing to relay the information received from the January 5

                       tipster to another governmental body that could have handled the investigation.

           127.    Causation: As a direct and proximate cause of the FBI’s negligence, William

    Olson was shot and injured by Nikolas Cruz. But for the FBI’s negligence, Nikolas Cruz would

    not have shot and injured William Olson. The FBI’s failure to investigate the tips and information




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    it had received, failing to forward the information concerning Nikolas Cruz to appropriate

    governmental bodies, and failing to follow its mandatory, established protocols, was a direct and

    substantial cause of the Plaintiffs’ loss.

            128.    Damages: As a direct and proximate cause of the FBI’s negligence, William Olson

    has been damaged. Therefore, pursuant to Fla. Stat. §768.28 and all applicable subparts thereto,

    he is entitled to recover all available damages, including: bodily injury and resulting pain and

    suffering, disability, disfigurement, mental anguish, mental pain and suffering, loss of the capacity

    for the enjoyment of life, medical expenses in the past and in the future, loss of earnings, loss of

    the ability to earn money in the future and/or aggravation of a preexisting condition.



                    WHEREFORE, the Plaintiff, William Olson, demands judgment against the

    United States for compensatory damages, costs, and such other relief this Court deems appropriate.


    Dated: October 27th, 2021




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                                      Respectfully submitted,

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